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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §             Case No: 2:15-cv-01169-JRG-RSP
                                    §
vs.                                 §             LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendants.                   §
___________________________________ §
                                    §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §             Case No: 2:15-cv-01177-JRG-RSP
                                    §
vs.                                 §             CONSOLIDATED CASE
                                    §
JETBLUE CORPORATION                 §
                                    §
      Defendants.                   §
___________________________________ §

                     ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this day, the Court considered Plaintiff Symbology Innovations, LLC’s motion to

dismiss without prejudice, in the lawsuit between Plaintiff Symbology Innovations, LLC and

Defendant JetBlue Corporation. Having considered the Motion and the pleadings in this case,

the Court is of the opinion that the Motion should be, and is hereby GRANTED.

       Therefore, IT IS ORDERED that all claims asserted by Symbology Innovations, LLC

against JetBlue Corporation and any counterclaims or other claims that JetBlue Corporation may

have are hereby DISMISSED WITHOUT PREJUDICE, with each party to bear its own costs,

attorneys’ fees and other litigation expenses.
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        SIGNED this 3rd day of January, 2012.
        SIGNED this 16th day of February, 2016.




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                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE
